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UN|TED STATES DlSTRlCT COURT
MlDDLE DlSTRlCT OF FLOR|DA
OCALA D|V|SlON
CRA|G HEMBACH,
Plaintiff,
v. Case No. 5:16-cv-230-0c-39PRL

EDUCAT|ONAL CRED|T
MANAGEMENT CORPORAT|ON,

Defendant.
I

ORDER OF DlSMlSSAL

This matter is before the Court on the Joint Stipu|ation for Dismissa| with Prejudice
(Doc. 10; Stipu|ation) filed on June 10, 2016. |n the Stipu|ation, the parties state that they
agree to the dismissal of this case with prejudice. §§ Stipu|ation at 1. Accordingly, it is 7
' hereby ORDERED: ' d '
1. This case is DlSMlSSED with prejudice.
2. Each party shall bear their own fees and costs.
3. The C|erk of the Court is directed to terminate all pending motions and close

the fi|e.

th
DONE and ORDERED in Jacksonvi||e, Floridzgiis l?? dai@::n:£m€.

BRlAN J. DAvls/
United States District Judge

 

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Copies to: Counse| of Record

